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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ALLEN AIKENS,

        Plaintiff,                           Case No. 23-cv-11613
                                             Honorable Linda V. Parker
v.

KIRK STEVENSON, et al.

       Defendants.
__________________________________/

     OPINION AND ORDER ADOPTING MAGISTRATE JUDGE’S MAY 3,
         2024 REPORT AND RECOMMENDATION AND DENYING
          DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT

       Plaintiff commenced this civil rights action against Defendants on July 6,

2023. Defendants have filed motions for summary judgment on exhaustion

grounds. (ECF Nos 18, 24.) The matter has been assigned to Magistrate Judge

David R. Grand for all pretrial proceedings, including a hearing and determination

of all non-dispositive matters pursuant to 28 U.S.C. § 636(b)(1)(A) and/or a report

and recommendation on all dispositive matters pursuant to 28 U.S.C.

§ 636(b)(1)(B). (ECF No. 9.)

       On May 3, 2024, Magistrate Judge Grand issued a report and

recommendation (“R&R”) recommending that the Court deny Defendants’

motions. (ECF No. 36.) At the conclusion of the R&R, Magistrate Judge Grand

advises the parties that they may object to and seek review of the R&R within
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fourteen days of service upon them. (Id. at PageID. 229.) He further specifically

advises the parties that “[f]ailure to file specific objections constitutes a waiver of

any further right to appeal.” (Id.)

      While Magistrate Judge Grand served the parties with the R&R on the date it

was issued (see 5/3/24 Text Entry), Plaintiff submitted a notice of an address

change on the same date which was not filed until May 10 (ECF No. 37). This

Court therefore resent the R&R to Plaintiff and awaited additional time for any

objections to the R&R. As of this date, no objections have been filed.

      The Court therefore deems any objections waived and is adopting the R&R.

      Accordingly,

      IT IS ORDERED that Defendants’ motions for summary judgment on

exhaustion grounds (ECF Nos. 18, 24) are DENIED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE
 Dated: June 26, 2024

 I hereby certify that a copy of the foregoing document was mailed to counsel of
 record and/or pro se parties on this date, June 26, 2024, by electronic and/or U.S.
 First Class mail.


                                                s/Aaron Flanigan
                                                Case Manager




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